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                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                      No. 2:12-md-02323-AB
IN RE: NATIONAL FOOTBALL
                                                      MDL No. 2323
LEAGUE PLAYERS’ CONCUSSION
INJURY LITIGATION                                     Hon. Anita B. Brody


Kevin Turner and Shawn Wooden,                        Civ. Action No. 14-00029-AB
on behalf of themselves and
others similarly situated,
          Plaintiffs,

               v.

National Football League and
NFL Properties LLC,
successor-in-interest to
NFL Properties, Inc.,
          Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS


                                           ORDER

       AND NOW, on this              day of                        , 2018, having considered

Plaintiff’s Motion to Compel Payment of the Common Benefit Costs Incurred by Class Counsel

and the Establishment of the Education Fund, the Memorandum of Law in support thereof, and

all Responses and Replies, IT IS HEREBY ORDERED and DECREED that Plaintiff’s Motion is

GRANTED as stated:

       1. That the Settlement Administrator shall within 10 days of the date of this Order,

          provide notice to all Class Counsel who have incurred common benefit expenses that

          any supplementation of those expenses, previously documented to the Court, shall
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   have 10 business days to submit an amended cost statement. Thereafter, within 10

   days, those amended cost statements will be reviewed by co-lead Class Counsels and

   a determination of those expense will be made. All approved common benefit

   expenses will be paid by the Settlement Administrator within 10 days of co-lead

   Counsels’ determination.



2. Within thirty days (30) of the date of this Order, the parties will propose to the Court

   a list of names of persons who will be assigned the task of implementing the

   Education Fund per the Settlement Agreement. Those persons will be responsible to

   develop programs and allocate funds to effectuate those programs. These persons

   will be obliged to provide an annual accounting to the Settlement Administrator

   which is reviewable by the Court.



IT IS SO ORDERED.



                                              BY THE COURT:




                                              The Honorable Anita B. Brody
                                              United States District Judge




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